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Bayless v. Coloplast Corp., et al., No. 6:20-cv-831
Log of Confidential Terms for Redaction
 Nature of               Transcript or Exhibit              Factual Basis for Redacting          Supporting Declaration
 Confidential Term       Citation*                          Term
 Name of                 Trial Tr., Vol. 3, Page/Line       The names of the suppliers for the   See Declaration of James
 Polypropylene           18:15, 18:20, 18:21 (June 1,       materials Coloplast uses in its      Schumer ¶¶ 9-14, 16-18 (June
 Supplier                2021); Exhibit No. PX 500          medical devices are treated as       30, 2021) (attached as Exhibit
                         (Coloplast’s proposed              confidential by Coloplast and by     2).
                         redactions for this exhibit are    its competitors as a matter of
                         attached as Exhibit 3).            industry practice. Coloplast
                                                            restricts access to this type of
                                                            confidential information within
                                                            the company, and dissemination
                                                            of the information could cause
                                                            Coloplast significant competitive
                                                            harm.

 Proprietary Name        Trial Tr., Vol. 3, Page/Line       The names of the proprietary         Schumer Decl. ¶¶ 9-14, 16-18.
 for Type of             6:24, 7:1, 8:1, 9:11, 17:16,       materials Coloplast uses in its
 Polypropylene           17:19, 17:22, 18:22, 31:4 (June    medical devices are treated as
                         1, 2021); Trial Tr., Vol. 14,      confidential by Coloplast and by
                         Page/Line 93:15, 94:7, 94:17,      its competitors as a matter of
                         95:7, 95:10, 95:12, 98:9, 98:22,   industry practice. Coloplast
                         100:3, 144:15 (June 10, 2021);     restricts access to this type of
                         Exhibit No. JE-081; Exhibit        confidential information within
                         No. JE-082; Exhibit No. PX         the company, and dissemination
                         177.                               of the information could cause
                                                            Coloplast significant competitive
                         (Coloplast’s proposed              harm.
                         redactions for each exhibit are
                         attached as Exhibit 3).
 Proprietary Name        Trial Tr., Vol. 3, Page/Line       The names of the proprietary         Schumer Decl. ¶¶ 9-14, 16-18.
 of Antioxidant          14:11, 108:20 (June 1, 2021).      materials Coloplast uses in its
                                                            medical devices are treated as
                                                            confidential by Coloplast and by


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Log of Confidential Terms for Redaction
                                                            its competitors as a matter of
                                                            industry practice. Coloplast
                                                            restricts access to this type of
                                                            confidential information within
                                                            the company, and dissemination
                                                            of the information could cause
                                                            Coloplast significant competitive
                                                            harm.

 Proprietary Name        Trial Tr., Vol. 3, Page/Line       The names of the proprietary        Schumer Decl. ¶¶ 9-14, 16-18.
 of Antioxidant          10:4, 10:10-10:11, 10:16, 10:25,   materials Coloplast uses in its
                         14:13, 14:14, 108:20 (June 1,      medical devices are treated as
                         2021).                             confidential by Coloplast and by
                                                            its competitors as a matter of
                                                            industry practice. Coloplast
                                                            restricts access to this type of
                                                            confidential information within
                                                            the company, and dissemination
                                                            of the information could cause
                                                            Coloplast significant competitive
                                                            harm.

 Name of Vendor          Trial Tr., Vol. 3, Page/Line       The names of the vendors in the     Schumer Decl. ¶¶ 9-14, 16-18.
 Who is Part of the      107:23 (June 1, 2021).             proprietary manufacturing
 Proprietary                                                process Coloplast uses in its
 Manufacturing                                              medical devices are treated as
 Process                                                    confidential by Coloplast and by
                                                            its competitors as a matter of
                                                            industry practice. Coloplast
                                                            restricts access to this type of
                                                            confidential information within
                                                            the company, and dissemination
                                                            of the information could cause


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Log of Confidential Terms for Redaction
                                                           Coloplast significant competitive
                                                           harm.

 Name of Materials       Trial Tr., Vol. 14, Page/Line     The names of the suppliers for the Schumer Decl. ¶¶ 9-14, 16-18.
 Supplier                95:8 (June 10, 2021);             materials Coloplast uses in its
                         Exhibit No. JE-081; Exhibit       medical devices are treated as
                         No. JE-082; Exhibit No. PX        confidential by Coloplast and by
                         177.                              its competitors as a matter of
                                                           industry practice. Coloplast
                         (Coloplast’s proposed             restricts access to this type of
                         redactions for each exhibit are   confidential information within
                         attached as Exhibit 3).           the company, and dissemination
                                                           of the information could cause
                                                           Coloplast significant competitive
                                                           harm.

 Name of                 Trial Tr., Vol. 14, Page/Line     The names of the suppliers for the Schumer Decl. ¶¶ 9-14, 16-18.
 Polypropylene           95:9, 95:10, 95:12 (June 10,      materials Coloplast uses in its
 Supplier                2021); Exhibit No. JE-081;        medical devices are treated as
                         Exhibit No. JE-082; Exhibit       confidential by Coloplast and by
                         No. PX 177.                       its competitors as a matter of
                                                           industry practice. Coloplast
                         (Coloplast’s proposed             restricts access to this type of
                         redactions for each exhibit are   confidential information within
                         attached as Exhibit 3).           the company, and dissemination
                                                           of the information could cause
                                                           Coloplast significant competitive
                                                           harm.

 CP Fiber Yarn USP       Exhibit No. JE-081                The names of the suppliers of the   Schumer Decl. ¶¶ 9-14, 16-18.
 Class VI Polymer        (Coloplast’s proposed             materials and the proprietary
 PP Monofilament         redactions for this exhibit are   materials Coloplast uses in its
 Product Brochure,       attached as Exhibit 3).           medical devices are treated as


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Log of Confidential Terms for Redaction
 10-10-2008                                              confidential by Coloplast and by
 (contains the name                                      its competitors as a matter of
 of a materials                                          industry practice. Coloplast
 supplier in addition                                    restricts access to this type of
 to several                                              confidential information within
 confidential terms                                      the company, and dissemination
 already listed                                          of the information could cause
 above)                                                  Coloplast significant competitive
                                                         harm.


*For each term proposed for redaction herein, Coloplast respectfully requests that the term also be redacted from any index that
may be published with the trial transcripts.




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